Case 1:03-cr-10078-.]DT Document 97 Filed 07/08/05 Page 1 of 2 Page|D 105

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIS'I`RICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA

vs CR NO. 1:03-10078-01-"1`

PERRY ORLANDO

ORDER ON CHANGE OF PLEA
This cause came on to be heard on July 6, 2005, Assistant U. S. Attorney,
Richard Leigh Grinalds, appearing for the government, and the defendant appeared in person
and with counsel, David Camp, Who Was appointed
With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts l, 2 and 3 of the lndietment.

This case has been set for sentencing on Mondav .. October 24.. 2005. at 8:30

The defendant is allowed to remain on his present bond.

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D TODD
UNI D STATES DISTRJCT IUDGE

DATE: 7 Q//LAA/ §§de
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IT IS SO ORDERED.

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ENNESSEE

 
 

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David W. Camp

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Honorable J ames Todd
US DISTRICT COURT

